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                              UNITED STATES BANKRUPTCY COURT
                                     Middle District of Florida
                                        Orlando Division


IN RE:                                                                   Case No:         6:14-bk-00034-CCJ
                                                                         Chapter 13
Gildharee Persaud
Bhagwatie Persaud


                                         Debtors



                                    Order Confirming Chapter 13 Plan


        This case came on for a Confirmation Hearing on October 28, 2014. It having been determined that the
debtors' Plan as modified at the hearing, docket number 65, complies with section 1325 and other applicable
sections of the Bankruptcy Code, it is herewith Ordered as follows:

          1. The debtors' Chapter 13 Plan is confirmed.

          2. Payments by the debtors of (see exhibit "A") per month by money order or cashier check or wage
             deduction for 60 consecutive months commencing on February 2, 2014 are to be made to Laurie
             K. Weatherford - Trustee, P.O. Box 1103, Memphis, TN 38101-1103.

          3. According to the confirmed Plan, or any modified plan thereafter, the last regular monthly
            mortgage payment to be paid through the Chapter 13 Trustee’s office is 01/02/2019. Therefore, it
            is important that the debtors resume their regular monthly mortgage payments directly to the
            mortgage creditor thereafter.

         4. The debtors are prohibited from incurring any post-confirmation debt during the term of this Plan
            without prior approval of the Court or the Trustee.

         5. Claims are allowed and security surrendered to creditors as set forth in Exhibit "A" attached hereto,
            and by reference made a part hereof.

         6. If a debtor surrenders property, creditors holding secured interests in the surrendered property
            may seek in rem relief from the automatic stay without payment of the related filing fee provided the
            motion is served by negative notice and is titled: Motion for Relief from Stay (Surrendered
            Property). Creditors may file an unsecured claim for any deficiency due within 91 days of the entry
            of this Order. Surrender is deemed effective immediately upon entry of this Order.

         7. Distribution by the trustee shall commence and continue on a monthly basis following this
            confirmation in the following order:
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            a. Trustee percentage fee as allowed by the U.S. Trustee.

            b. Attorney fees and expenses are allowed in the amount of $4,000.00 to the debtors' attorney.

            c. Creditors' claims in accordance with Exhibit "A".

         8. Provisions for treatment of adjustable rate mortgage payments and escrow accounts are as follows:

            a. The Mortgage Holder shall forward any notice of change of mortgage payment or escrow
               amount to the debtors, debtors' attorney, and the trustee as soon as practicable and before any
               payment change is requested to occur.

            b. The Mortgage Holder shall assess no post-petition costs or expenses against the debtors'
               account during the pendency of this case until first providing the debtors, debtors' attorney, and
               the trustee with a notice of requested charges and opportunity to object.

            c. Upon receipt of the notice of payment changes or charges requested, the trustee shall take the
               following action:

                (1) If the new payment is less than the current payment, the trustee shall reduce the payment to
                    the creditor in accordance with the notice and apply the difference to increase the
                    distribution to unsecured creditors.

                (2) If the new payment is greater than the current payment, the trustee shall compute the
                    additional sum the debtors must pay and advise the debtors and debtors' attorney of the
                    new monthly payment amount. The payment to the creditor will be adjusted accordingly.

            d. These provisions are in effect a modification to a confirmed plan requested by the trustee
               pursuant to 11 U.S.C. Section 1329. Notice and hearing are waived inasmuch as no creditor
               will be adversely affected by such change.

            e. The automatic stay is modified, to the extent necessary, to allow the debtors and Mortgage
               Holder to negotiate loan modification terms during the pendency of this case. The parties shall
               timely submit any agreed loan modifications to the Court for approval.

         9. Provisions for both pre-petition and post-petition arrears, if any, on allowed secured claims
            (including mortgage claims) are included in the Plan and this Order. Upon debtors making all
            payments required under the Plan and the entry of a Discharge Order, the delinquencies on any
            secured claims (including mortgage claims) paid through the Plan are deemed cured and reinstated
            through the plan completion date. All post-petition late fees and charges of any kind incurred
            incident to the Plan but not properly noticed and addressed via paragraph 8 above are discharged.
            Further, upon debtors making all payments required under the Plan to satisfy a security interest in a
            motor vehicle, mobile home or other similar property of the estate, upon discharge, creditor must
            timely provide a satisfaction and release of lien pursuant to state law.
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         10. Provisions for creditors' liens that are being avoided are as follows:

            a. Claim of a creditor whose liens are being avoided by debtors are treated in debtors' Plan as
               unsecured claims, and a statement of this treatment is included in the Plan.

            b. If the case is dismissed, those payments received by the creditor apply to the debt, but the lien
               is not avoided by this Order.

            c. The lien of the creditor is avoided, without further order, upon the earlier of (i) the payment of
               underlying debt, or (ii) the entry of a discharge under section 1328.

         11. If any claim (secured/priority/unsecured) is filed after entry of this Order, the debtors or their
            attorney must timely file the appropriate motion to modify confirmed plan, objection(s) to claims
            and/or motion(s) to value claims.

         12. If bar date to file proofs of claim has not yet expired:

            a. The debtors shall have thirty-five (35) days following the expiration of any bar date to object to
               any claim filed after entry of this Order.

            b. The debtors shall have thirty-five (35) days following the filing of an untimely claim to file an
               objection.

            c. Failure to timely object to a claim shall result in the allowance of the claim and the trustee shall
               include payments to these creditors in addition to those creditors currently listed on attached
               Exhibit "A".

            d. The trustee shall review the Claims Register after all bar dates have passed and file a motion to
               dismiss if the debtors fails to timely take appropriate action to address all filed claims.

         13. The trustee shall hold all funds payable to general unsecured creditors for at least thirty (30) days
            after the bar date for filing claims has passed.

         14. The debtors are responsible for paying all post-petition ongoing homeowners assessments,
            homeowners' dues, and/or property taxes; the automatic stay shall not apply to these debts.

         15. The debtors are responsible for paying any domestic support obligation that first becomes
            payable after the date of filing of the petition.

         16. Variations in distributions between the debtors' Plan and this Order shall be resolved in favor of
            this Order.

         17. The debtors shall provide to the Chapter 13 Trustee all tax returns on an annual basis, to be
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            received by the Chapter 13 Trustee no later than April 30th of each year.

         18. All future refunds from the Internal Revenue Service shall be turned over to the Chapter 13
            Trustee for distribution to the general unsecured creditors who have filed timely unsecured claims.

         19. All objections to confirmation of the Plan were resolved at the Confirmation Hearing or are
            resolved by this Order.

         20. No later than 180 days prior to the debtors' last Plan payment, the debtors shall file a
            certification(s) that (i) lists all domestic support obligations and whether such obligations are
            current, (ii) certifies that Section 522 (q) (1) is not applicable and no proceeding is pending in
            which the debtors could be found guilty of an offense listed in 522 (q) (1).

         21. The debtors shall complete the required debtor financial education course and file the related
            certificate with the Court no later than 180 days following the entry of this Order.

         22. The provisions of paragraphs 20 and 21 only apply to those cases filed on or after October 17,
            2005.

         23. Any discharge entered in this case shall not discharge the debtor’s liability on a federally
             guaranteed student loan debt unless the Court specifically finds that repayment of the debt would
             cause an undue hardship to the debtor or the debtor’s dependents pursuant to 11 U.S.C. §
             523(a)(8).

         24. To the extent this Confirmation Order contains any modified term or condition not timely
            noticed, parties may seek the reconsideration of this Order within 14 days of its entry by separate
            motion.
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DONE and ORDERED in Orlando, Florida, this 10th day of November, 2014
Done and Ordered on ___________________________________




                                                                        Cynthia C. Jackson
                                                                        United States Bankruptcy Judge


 Copies furnished to: All Creditors and Interested Parties.

 Trustee Laurie K Weatherford is directed to serve a copy of this order on interested parties and file a proof of
 service within 3 days of entry of the order.
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                                                               Exhibit "A"


Claim                                         Claim                           Claim            Claim                 Monthly
Nbr.                                          Type                           Amount           Allowed    Notes       Payments
AT      Joel L Gross                         Attorney Fee                     $4,000.00     $4,000.00
                                                                                                                 01-04/      $100.00
                                                                                                                 05-05/      $187.00
                                                                                                                 06-23/      $117.00
                                                                                                                 24-24/    $1,307.00
001     Quantum3 Group, Llc - Agent For Comenity
                                           General
                                                 Bank
                                                   Unsecured                  $3,312.74          $0.00    ( 1)
002     Ncep, Llc - Assignee Hsbc Card Services (Iii) Inc.
                                            General    Unsecured               $720.25         $720.25    ( 2)   1-60/    Pro Rata
003     Citimortgage, Inc.                   Secured                         $57,000.00    $62,893.55     ( 3)
                                                                                                                 01-23/      $314.76
                                                                                                                 24-24/   $55,654.07
004     Marion County Tax Collector          Secured                          $3,079.82     $3,690.50     ( 4)
                                                                                                                 01-05/     $103.50
                                                                                                                 06-24/     $167.00
005     Embarq Florida, Inc. - Central Florida General Unsecured               $585.96           $0.00    ( 5)
006     U.S. Bank Trust, N.A.                Secured                         $79,000.00    $87,181.97     ( 6)
                                                                                                                 01-23/      $436.24
                                                                                                                 24-24/   $77,148.45
007     Ocala Regional Medical Center        General Unsecured                $2,776.48          $0.00    ( 7)
008     Ocala Regional Medical Center        General Unsecured                 $620.24           $0.00    ( 8)
009     Ocala Regional Medical Center        General Unsecured                 $300.00           $0.00    ( 9)
010     Ocala Regional Medical Center        General Unsecured                 $300.00           $0.00   ( 10)
011     American Infosource, Lp Agent For Directv,
                                           GeneralLlc
                                                   Unsecured                   $794.89           $0.00   ( 11)
012     World Omni Financial Corp.           Secured By Vehicle              $17,852.16    $20,335.20    ( 12)
                                                                                                                 01-60/     $338.92
013     Roundpoint Mortgage Servicing Corporation
                                          Secured                            $64,000.00    $70,628.44    ( 13)
                                                                                                                 01-23/      $353.41
                                                                                                                 24-24/   $62,500.01
014     Roundpoint Mortgage Servicing Corp Ongoing Mortgage                 $216,527.88     $5,638.00    ( 14)
                                                                                                                 01-05/    $1,127.60
300     Elizabeth Mccausland                 Administrative Fees               $350.00         $350.00
                                                                                                                 01-04/      $87.50
503     Citimortgage, Inc.                   General Unsecured              $101,388.92   $101,388.92            1-60/    Pro Rata
506     U.S. Bank Trust, N.A.                General Unsecured              $130,151.16   $130,151.16            1-60/    Pro Rata
512     World Omni Financial Corp.           General Unsecured                    $1.00          $1.00           1-60/    Pro Rata
513     Roundpoint Mortgage Servicing Corporation
                                          General Unsecured                 $106,945.32   $106,945.32            1-60/    Pro Rata
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Note ( 1)    PURSUANT TO ORDER DATED 4/10/2014 CLAIM IS DISALLOWED.

Note ( 2)    CLAIM REPRESENTS AMENDED CLAIM NO. 2-2

Note ( 3)    PURSUANT TO ORDER DATED 9/16/2014 CLAIM IS VALUED AT $57,000.00 AND SHALL BE PAID AT 5.25%
             INTEREST. THE BALANCE OF THE CLAIM, $101,388.92 SHALL BE TREATED UNSECURED.
Note ( 4)    PAID AT 18% INTEREST

Note ( 5)    PURSUANT TO ORDER DATED 4/23/2014 CLAIM IS DISALLOWED.

Note ( 6)    CLAIM TRANSFERRED TO U.S. BANK TRUST, IN CARE OF SN SERVICING.

             PURSUANT TO ORDER DATED 9/11/2014 CLAIM SHALL BE VALUED AT $79,000.00 AT 5.25% INTEREST. THE
             BALANE OF THE CLAIM, $130,151.16 SHALL BE TREATED AS UNSECURED.
Note ( 7)    PURSUANT TO ORDER DATED 6/4/2014 CLAIM IS DISALLOWED.

Note ( 8)    PURSUANT TO ORDER DATED 6/4/2014 CLAIM IS DISALLOWED.

Note ( 9)    PURSUANT TO ORDER DATED 6/4/2014 CLAIM IS DISALLOWED.

Note ( 10)   PURSUANT TO ORDER DATED 6/4/2014 CLAIM IS DISALLOWED.

Note ( 11)   PURSUANT TO ORDER DATED 6/4/2014 CLAIM IS DISALLOWED.

Note ( 12)   CLAIM PAID AT 5.25% INTEREST

Note ( 13)   PURSUANT TO ORDER DATED 6/26/2014 CLAIM SHALL BE VALUED AT $64,000.00 AT 5.25% INTEREST, THE
             BALANCE OF THE CLAIM $106,945.32 SHALL BE TREATED AS UNSECURED.
Note ( 14)   PLAN PAYMENTS MADE FOR MONTHS 1-5
             PAID IN FULL OUTSIDE PLAN BEGINNING IN MONTH 6

                                       Debtor Payments to the Trustee
                                  Months                             Amount
                                  1-5                                $3,180.00
                                  6-9                                $1,920.00
                                  10-23                              $1,950.00
                                  24-24                            $221,385.00
                                  25-60                              $1,950.00
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NOTICE TO ALL CREDITORS LISTED ABOVE: In an effort to disburse all funds held by the trustee on a monthly basis, it is possible that
you may on occasion receive partial payment. However, the Claim Allowed by this Court will be paid in full by the end of the debtor's Plan.
All undesignated funds will be distributed to unsecured creditors with timely filed proofs of claim.

THE TRUSTEE SHALL PROVIDE TO THE COURT an amended confirmation order after all unsecured claim issues are resolved, if necessary.
There will be no distribution to unsecured creditors listed on Exhibit A, attached hereto, for 90 days following the date of this Order.

IF MORTGAGE MEDIATION HAS BEEN ORDERED, the debtor and the creditor are directed to comply with the terms of the mortgage
mediation modification order. The Trustee is authorized to disburse to the mediator the mediation fee upon the mediator filing a notice of
completed mediation..
